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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

DONNA CAVE, et al.,                                                                   PLAINTIFFS

EUGENE LEVY, et al.,                                            CONSOLIDATED PLAINTIFFS

THE SATANIC TEMPLE, et al.,                                                       INTERVENORS

v.                                Case No. 4:18-cv-00342-KGB

JOHN THURSTON, Arkansas Secretary
of State, in his official capacity                                                   DEFENDANT

                                              ORDER

       Before the Court is the parties’ joint motion for leave to provide audio of deposition of

Senator Jason Rapert to court reporter (Dkt. No. 88). Senator Rapert’s deposition was taken on

September 12, 2019 (Id., ¶ 1). Pursuant to the Order of this Court entered on September 11, 2019,

the electronic video of the deposition was retained by Gerry Schulze, counsel for consolidated

plaintiffs (Dkt. Nos. 78; 88, ¶ 2). The parties inform the Court that Bonnie Parker, the court

reporter preparing the stenographic record, has had some equipment failures and computer crashes,

leading to an inability to transcribe parts of the deposition (Dkt. No. 88, ¶ 3). Ms. Parker has asked

for permission to use, for the sole purpose of preparing a final stenographic record of the

deposition, the audio from the video recording of the deposition, which is in Mr. Schulze’s

possession pursuant to the September 11, 2019, Order (Id., ¶ 4). All parties have agreed to permit

Mr. Schulze to provide the audio from the video recording to Ms. Parker for the sole purpose of

making an accurate transcription of the portions of the deposition involved in the equipment

failures (Id., ¶ 5). The parties expressly agree that the audio will not be used for any other purpose

and will not be provided to anyone other than Ms. Parker (Id.). The parties agree that Mr. Schulze,

as the court-ordered custodian of the deposition recording, will be responsible for informing Ms.
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Parker of the terms of this agreement and obtaining a signed declaration from Ms. Parker to ensure

her compliance with the protective order (Id., ¶ 6).

       For good cause shown, the Court grants the parties’ joint motion for leave to provide audio

deposition of Senator Jason Rapert to court reporter (Dkt. No. 88). The Court directs Mr. Schulze

to release the audio of Senator Rapert’s deposition to Ms. Parker for the sole purpose of making

an accurate transcription of the portions of the deposition involved in the equipment failures and

obligates Mr. Schulze to obtain a signed declaration ensuring Ms. Parker’s compliance with the

terms of the parties’ agreement and this Court’s Order. The Court also extends its protective order

to provide that Ms. Parker shall be responsible for maintaining the confidentiality of the deposition.

       It is so ordered, this the 5th day of November 2019.



                                                       Kristine G. Baker
                                                       United States District Judge




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